                         NOT RECOMMENDED FOR PUBLICATION
                                File Name: 24a0365n.06

                                         Case No. 23-3771

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                                                                                        FILED
                                                                                      Aug 22, 2024
                                                       )                      KELLY L. STEPHENS, Clerk
UNITED STATES OF AMERICA
                                                       )
       Plaintiff – Appellee                            )
                                                       )         ON APPEAL FROM THE
v.                                                     )         UNITED STATES DISTRICT
                                                       )         COURT FOR THE NORTHERN
ANTHONY L. RICE, JR.                                   )         DISTRICT OF OHIO
       Defendant – Appellant                           )
                                                       )                              OPINION


Before: MOORE, COLE, and MATHIS, Circuit Judges.

       COLE, Circuit Judge. In May 2023, Anthony Rice, Jr. pleaded guilty to one count of being

a felon in possession of a firearm. The district court sentenced Rice to 46 months’ imprisonment.

Rice argues that the district court: (1) incorrectly concluded that his prior Ohio aggravated robbery

conviction was a “crime of violence” under the Guidelines; (2) should have applied Amendment

821, which went into effect after Rice’s sentencing, because it would have lowered his Guidelines

range; and (3) failed to consider Rice’s personal history as a mitigation factor. We AFFIRM, but

because of an intervening Sentencing Guidelines amendment during the pendency of this appeal,

we REMAND to the district court to consider whether Rice is entitled to a sentence reduction.

                                                 I.

                                                 A.

       On April 27, 2022, a Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF)

confidential informant (CI) bought a firearm for $1,100 from Rice during a controlled buy in
No. 23-3771, United States v. Rice


Cleveland, Ohio. When sold, the firearm contained approximately 30 rounds of ammunition. Rice

also indicated that he had other firearms and “switches,” devices that convert a semi-automatic

handgun to fully automatic, available for purchase, but the CI did not purchase them.

       Rice was prohibited from possessing a firearm because of a 2016 state conviction for an

aggravated robbery, pursuant to Ohio Rev. Code § 2911.01(A)(1), that he committed when he was

16 years old. Rice was released on parole from the aggravated robbery conviction on December

13, 2021. Rice was still on parole at the time of the instant offense. He was arrested for the instant

offense on June 30, 2022, and he served 270 days in prison for the state parole violation.

                                                 B.

       On March 23, 2023, Rice was indicted for one count of being a felon in possession of a

firearm, in violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2). On May 23, 2023, Rice pleaded

guilty to the charged offense without a plea agreement.

       In August 2023, Rice’s final presentence report (PSR) recommended a base offense level

of 22, pursuant to Guidelines § 2K2.1(a)(3), because the firearm was semi-automatic and could

hold a large capacity magazine and because Rice had a previous conviction for a “crime of

violence.” Rice argued that his previous conviction for aggravated robbery was not a “crime of

violence” as defined by Guidelines § 4B1.2(a), and his base offense level should be 14. Rice

objected to a category III criminal history because Guidelines Amendment 821, which was going

into effect in November 2023, no longer added criminal history points for being on parole at the

time of the offense for offenders with less than seven criminal history points. With this change,

Rice alleged that his criminal history category would decrease to II. As such, Rice concluded that

his sentencing range should be 12–18 months.




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No. 23-3771, United States v. Rice


       Rice also argued that several mitigating factors should be taken into consideration in

fashioning his sentence: exposure to violence at a young age, losing family and friends to gun

violence, struggling in school, lack of employment, using marijuana at 14 years old, and that he

was only 23 years old at the time of sentencing. Rice indicated that he was “amenable to treatment

and mental health counseling” and planned to obtain his GED and commercial driver’s license.

       At the sentencing hearing, the district court overruled the first objection, explaining that

(1) robbery is an enumerated “crime of violence” under the Guidelines, and (2) Ohio aggravated

robbery meets the definition of extortion as a “crime of violence.” It also overruled the second

objection. Because the sentencing took place on September 6, 2023, prior to the Guidelines

amendment going into effect on November 1, 2023, the district court concluded that it must apply

the Guidelines in effect on the date of sentencing.

       The district court reduced Rice’s base offense level to 19 for acceptance of responsibility

and placed him in criminal history category III. The Guidelines range was 37–46 months’

imprisonment. The district court explained that it would entertain a motion for an upward variance

for two reasons. First, in addition to illegally selling firearms, Rice had attempted to sell

“switches” which can make firearms fully automatic. Second, Rice received 85 disobedience-

related violations during his previous six-year term of incarceration for aggravated robbery. The

government chose not to seek an upward variance.

       The district court sentenced Rice to 46 months’ imprisonment, to be served consecutively

with his state sentence for the parole violation. The district court concluded that, collectively,

Rice’s history of violence, association with a street gang, and attempt to sell a firearm and a

“switch” while on parole warranted a longer sentence despite his young age and violent

upbringing. This appeal followed.


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No. 23-3771, United States v. Rice


                                               II.

       Rice alleges that the district court: (1) erred in concluding that his 2016 Ohio aggravated

robbery conviction was a “crime of violence” under the Guidelines; and (2) failed to apply

Amendment 821, which went into effect after Rice’s sentencing, because it would have resulted

in a lower Guidelines range of 33–41 months’ imprisonment.

                                               A.

       We review de novo the district court’s determination that Rice’s 2016 aggravated robbery

conviction was a “crime of violence.” United States v. Ivy, 93 F.4th 937, 941 (6th Cir. 2024).

Under the Guidelines, the base offense level for a defendant with a felon-in-possession conviction

is generally 14. Id. (citing U.S.S.G. § 2K2.1(a)(6)). But if the defendant committed the felon-in-

possession offense after having been previously convicted “of either a crime of violence or a

controlled substance offense” and the firearm at issue was a semiautomatic firearm capable of

accepting a large capacity magazine, the base offense level is 22. U.S.S.G. § 2K2.1(a)(3).

       Rice’s base offense level was 22 because the firearm sold to the CI was a semi-automatic

firearm “capable of accepting a large capacity magazine,” and he sold the firearm after his 2016

Ohio conviction for aggravated robbery pursuant to § 2911.01(A)(1)—with the predicate offense

of general theft per §§ 2913.01 and 2913.02. The district court concluded that the sentencing

enhancement applied because Ohio aggravated robbery matches the definitions of Guidelines-

enumerated robbery and extortion.

       At the time of Rice’s sentencing, the Guidelines defined a “crime of violence” as:

       any offense under federal or state law, punishable by imprisonment for a term
       exceeding one year, that—

       (1) has as an element the use, attempted use, or threatened use of physical force
           against the person of another; or


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No. 23-3771, United States v. Rice


          (2) is murder, voluntary manslaughter, kidnapping, aggravated assault, a forcible
              sex offense, robbery, arson, extortion, or the use or unlawful possession of a
              firearm described in 26 U.S.C. § 5845(a) or explosive material as defined in
              18 U.S.C. § 841(c).

Id. § 4B1.2(a) (2021). This case turns on U.S.S.G. § 4B1.2(a)(2), or the enumerated-offenses

clause.

          Under the categorical approach, Rice’s prior conviction matches an offense listed in the

enumerated-offenses clause if its elements “are the same as, or narrower than, those of the generic

offense” in the enumerated-offenses clause. Descamps v. United States, 570 U.S. 254, 257 (2013).

We “compare the elements of the statute forming the basis of the defendant’s conviction with the

elements of the ‘generic’ crime,” id., rather than the facts supporting the defendant’s prior

conviction, United States v. Butts, 40 F.4th 766, 770 (6th Cir. 2022). The predicate conviction

does not match an enumerated generic offense if that conviction “‘covers any more conduct than

the generic offense’ . . . even if the defendant’s actual conduct ‘fits within the generic offense’s

boundaries.’” Ivy, 93 F.4th at 943 (quoting Mathis v. United States, 579 U.S. 500, 504 (2016)).

“Thus, if the Ohio aggravated-robbery statute ‘reaches conduct outside the scope of’ the generic

offense, such that a hypothetical defendant can receive a conviction under the statute without

satisfying the elements of the offense identified in the Guidelines, then it ‘does not constitute a

crime of violence.’” Id. (quoting United States v. Yates, 866 F.3d 723, 734 (6th Cir. 2017)).

          Because a hypothetical defendant could commit Ohio aggravated robbery in several

different ways, we must first apply the modified categorical approach. Id. Specifically, Ohio’s

aggravated robbery statute contains alternative elements and is further subdivided by 31 possible

predicate theft offenses. United States v. Wilson, 978 F.3d 990, 997 (6th Cir. 2020). In applying

the modified categorical approach, we must determine which “alternative element” in the



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No. 23-3771, United States v. Rice


aggravated robbery statute “formed the basis of the defendant’s conviction,” see Descamps,

570 U.S. at 278, by looking “to a limited class of documents (for example, the indictment, jury

instructions, or plea agreement and colloquy),” Mathis, 579 U.S. at 505. These are commonly

referred to as Shepard documents. Butts, 40 F.4th at 771.

       Rice’s 2016 indictment describes the offense as follows:

       [Rice] . . . did, in attempting or committing a theft offense, as defined in section
       2913.01 and 2913.02 of the Revised Code, or in fleeing immediately after the
       attempt or offense upon Racardo L. Smith did have a deadly weapon, to wit:
       firearm, on or about his person or under his control and either displayed the weapon,
       brandished it, indicated that he possessed it, or used it.

Cuyahoga Cnty. Common Pleas Court, Case No. CR-16-604200-B, Indictment at 1. Next, Rice

pleaded guilty to aggravated robbery pursuant to § 2911.01(A)(1), which reads:

       (A) No person, in attempting or committing a theft offense, as defined in section
           2913.01 of the Revised Code, or in fleeing immediately after the attempt or
           offense, shall do any of the following:

               (1) Have a deadly weapon on or about the offender’s person or under the
                   offender’s control and either display the weapon, brandish it, indicate
                   that the offender possesses it, or use it . . .

Ohio Rev. Code § 2911.01(A)(1). Ohio aggravated robbery “must be [further] predicated on the

defendant’s commission of a ‘theft offense.’” Wilson, 978 F.3d at 998 (quoting State v. Tench,

123 N.E.3d 955, 1006–07 (Ohio 2018)). Ohio Rev. Code § 2913.01(K) defines 31 possible

predicate theft offenses ranging from “robbery, burglary, and aggravated theft” to “less serious

offenses, such as tampering with coin machines, safecracking, insurance fraud and workers

compensation fraud.”     Ivy, 93 F.4th at 942 (citing §§ 2911.02, 2911.12(A), 2913.02(B)(2),

2911.31, 2911.32, 2913.47, and 2913.48)). Therefore, an “offender [ ] commits Ohio aggravated

robbery by perpetrating any one of the predicate theft offenses while possessing and using a deadly

weapon.” Id.


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No. 23-3771, United States v. Rice


       “[I]f the Shepard documents in a particular case do not make clear under which subsection

of the relevant statute a defendant was convicted, sentencing courts must ‘presume that the

conviction rested upon nothing more than the least of the acts criminalized.’” United States v.

Burris, 912 F.3d 386, 406 (6th Cir. 2019) (en banc) (quoting Moncrieffe v. Holder, 569 U.S. 184,

190–91 (2013)). Here, Rice’s Shepard documents demonstrate Rice pleaded guilty to one count

of aggravated robbery pursuant to § 2911.01(A)(1) based on “a theft offense, as defined in section

2913.01 and 2913.02 of the Revised Code.”

       Ohio Rev. Code § 2913.01 only lists the 31 possible predicate theft offenses for aggravated

robbery. Section 2913.02 defines general theft:

       (A) No person, with purpose to deprive the owner of property or services, shall
           knowingly obtain or exert control over either the property or services in any of
           the following ways:

               (1) Without the consent of the owner or person authorized to give consent;
               (2) Beyond the scope of the express or implied consent of the owner or
                   person authorized to give consent;
               (3) By deception;
               (4) By threat;
               (5) By intimidation.

Ohio Rev. Code § 2913.02(A); State v. Rice, 659 N.E.2d 826, 834 (Ohio Ct. App. 1995)

(explaining that § 2913.02(A) sets forth the state’s general theft provision). Because the 2016

indictment includes the narrower definition of general theft as the predicate theft offense, Rice’s

offense must have met the elements of general theft as defined in § 2913.02 for conviction under

this predicate theft offense. Cuyahoga Cnty. Common Pleas Court, Case No. CR-16-604200-B,

Indictment. Further, Rice conceded that he committed § 2913.02 theft by entering a guilty plea.




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No. 23-3771, United States v. Rice


        We must determine whether the elements of Rice’s prior conviction for Ohio aggravated

robbery pursuant to § 2911.01(A)(1) with a predicate theft offense of general theft, per § 2913.02,

“are the same as, or narrower than” enumerated-offenses-clause robbery or extortion. Descamps,

570 U.S. at 257. In other words, can a hypothetical defendant be convicted of Ohio aggravated

robbery with a general theft predicate offense without satisfying the elements of Guidelines

enumerated robbery or extortion?

        Finally, on November 1, 2023, new amendments to the Guidelines went into effect. 2023

Guidelines Manual Annotated, UNITED STATES SENTENCING COMMISSION (eff. Nov. 1, 2023).

Under U.S.S.G. § 1B1.11(a), however, we apply the Guidelines that were in effect at the time of

the defendant’s original sentencing. In evaluating Rice’s appeal, we must apply the 2021

Guidelines in effect at the time of Rice’s sentencing in September 2023.

        Guidelines Extortion. The elements of Ohio aggravated robbery, per § 2911.01(A)(1), with

a predicate offense of general theft under § 2913.02(A), are the same as, or narrower than, the

elements of Guidelines extortion. At the time of Rice’s sentencing, the Guidelines defined

extortion as “obtaining something of value from another by the wrongful use of (A) force, (B) fear

of physical injury, or (C) threat of physical injury.” U.S.S.G. § 4B1.2 cmt. n.1 (2021).1 While we

have not yet addressed whether Rice’s specific conviction is a match for Guidelines-enumerated

extortion, our caselaw on related convictions proves instructive.

        Where no predicate theft offense is identified in the defendant’s Shepard documents, Ohio

aggravated robbery with a deadly weapon, pursuant to § 2911.01(A)(1), is not a match for

Guidelines extortion. Ivy, 93 F.4th at 947. This is because some of the “theft offenses” defined in



1
  The definition of extortion was unchanged by the November 2023 amendments but was moved from the commentary
into the text of the Guidelines. See U.S.S.G. § 4B1.2(e)(2).

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No. 23-3771, United States v. Rice


§ 2913.01(K) can be committed without the offender taking anything of value. See Ohio Rev.

Code § 2911.12(B) (trespassing in a habitation when a person is present or likely to be present)

and § 2911.13(B) (breaking and entering). Additionally, Ohio aggravated robbery has no mens

rea requirement. State v. Lester, 916 N.E.2d 1038, 1044 (Ohio 2009). Rice’s Shepard documents

specify the predicate theft offense for his aggravated robbery conviction, however, and that theft

offense provides the necessary elements to match Guidelines extortion.

        In United States v. Carter, we held that Ohio robbery pursuant to § 2911.02(A)(2) was a

match for Guidelines extortion even though Carter’s Shepard documents did not specify a

predicate theft offense because Ohio robbery with a predicate offense of general theft was not

broader than the “obtaining” element of Guidelines extortion. 69 F.4th 361, 364–65 (6th Cir.

2023), cert. denied, 144 S. Ct. 612 (2024). Ohio robbery provides that “[n]o person, in attempting

or committing a theft offense or in fleeing immediately after the attempt or offense, shall . . .

[i]nflict, attempt to inflict, or threaten to inflict physical harm on another.” Ohio Rev. Code

§ 2911.02(A)(2). Citing Ohio general theft pursuant to § 2913.02, the Carter court explained that

theft, or attempted theft, is narrower than the corresponding first element of Guidelines extortion—

“obtaining something of value from another”—because § 2913.02(A)’s theft definition requires

an individual to “obtain or exert control over . . . property or services.” Carter, 69 F.4th at 364.

The Carter court also concluded that attempted Ohio robbery was a match for Guidelines extortion

because enumerated crimes of violence “include[] the offenses of aiding and abetting, conspiring,

and attempting to commit such offenses.” Id. at 364 (citing U.S.S.G. § 4B1.2 cmt. n.1 (2021)).2


2
  We asked the parties to discuss at oral argument whether United States v. Havis, 927 F.3d 382 (6th Cir. 2019) (en
banc), was applicable to this case. (ECF No. 28.) Because Havis was not briefed by either party and defense counsel
effectively did not argue the matter at oral argument, the argument is forfeited, and we decline to address it here.
United States v. Montgomery, 998 F.3d 693, 698 (6th Cir. 2021) (explaining that forfeiture is the “failure to make a
timely assertion” of an argument or claim). We therefore assume without deciding that Carter is not in conflict with

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No. 23-3771, United States v. Rice


        Ohio robbery’s second element requiring an individual to “[i]nflict, attempt to inflict, or

threaten to inflict physical harm,” see Ohio Rev. Code § 2911.02(A)(2), is the same as the

Guidelines extortion element requiring the wrongful use of “force, fear of physical injury, or threat

of physical injury.” Carter, 69 F.4th at 364 (citing U.S.S.G. § 4B1.2 cmt. n.1 (2021) (cleaned

up)). Next, the Carter court reasoned that Guidelines extortion does not specify whether the harm

committed must be inflicted on another person or whether the harm must occur during or

immediately after the offense. Id. Regardless, the court explained that because Ohio robbery

required the harm to be inflicted on a person and for it to occur during the theft or while fleeing

immediately after, it circumscribed the same or less conduct than Guidelines extortion. Id.

        Although Carter dealt with the Ohio robbery statute, not the Ohio aggravated robbery

statute at issue here, its holding is relevant. Ohio robbery, pursuant to § 2911.02(A)(2), is a lesser

included offense of Ohio aggravated robbery, pursuant to § 2911.01(A)(1). State v. Evans, 911

N.E.2d 889, 895 (Ohio 2009). In other words, to be convicted of Ohio aggravated robbery, one

must also meet each element of Ohio robbery. Id. at 894–95.

        Therefore, because: (1) Ohio robbery with a predicate theft offense as defined in

§ 2913.02(A) is a Guidelines match for extortion; (2) Ohio robbery is a lesser included offense of

Ohio aggravated robbery; and (3) Ohio aggravated robbery circumscribes less conduct than Ohio

robbery, because it requires the offender to display, brandish, use, or indicate possession of a

weapon during the offense, Ohio aggravated robbery with general theft, as defined in § 2913.02,

as the predicate theft offense is a Guidelines match for extortion. In other words, Rice could not

be convicted of Ohio aggravated robbery with a predicate offense of general theft without also



Havis and rely on the Guidelines commentary definition of crime of violence that includes inchoate crimes. Cf. Ivy,
93 F.4th at 946 n.2.

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No. 23-3771, United States v. Rice


meeting the elements of Guidelines extortion. Moncrieffe, 569 U.S. at 190 (holding that a “state

offense is a categorical match with a generic federal offense only if a conviction of the state offense

‘necessarily involved . . . facts equating to [the] generic [federal offense]’”) (internal citations and

quotations omitted and alterations in original).

        In conclusion, Rice’s prior conviction is a match for Guidelines enumerated extortion and

a crime of violence for Guidelines sentencing purposes.3 Because Rice’s conviction for Ohio

aggravated robbery is a match for Guidelines extortion, the district court did not err in applying

the sentencing enhancement.

                                                        B.

        Effective November 1, 2023, the United States Sentencing Commission retroactively

amended § 4A1.1 of the Guidelines to eliminate the provision requiring the addition of two

criminal history “status points” for a defendant who commits the instant offense while on parole,

when that defendant has less than seven criminal history points. Sentencing Guidelines App. C

Supp., Amend. 821 (Nov. 1, 2023); U.S.S.G. § 4A1.1(e) (2023). The district court “properly

imposed [Rice’s current sentence] based on the guidelines in effect at the time of sentencing.”

United States v. Ursery, 109 F.3d 1129, 1137 (6th Cir. 1997) (citing 18 U.S.C. § 3553(a)(4)(A)).

Because the parties essentially dispute whether the district court based its sentencing determination

on a “sentencing range that was subsequently lowered by the Sentencing Commission,” this raises

“a matter of statutory interpretation that we review de novo.” United States v. Jackson, 678 F.3d

442, 444 (6th Cir. 2012).




3
  Because Rice’s aggravated robbery conviction is a match for Guidelines extortion, we need not consider whether it
is also a match for Guidelines robbery.

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No. 23-3771, United States v. Rice


       If an amendment is retroactive, see Hughes v. United States, 584 U.S. 675, 681 (2018), a

court may reduce a sentence already imposed:

       in the case of a defendant who has been sentenced to a term of imprisonment based
       on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. § 994(o) . . . after considering the factors set
       forth in section 3553(a) to the extent that they are applicable.

18 U.S.C. § 3582(c)(2). “A defendant is eligible for a sentence reduction only if the amendment

has ‘the effect of lowering the defendant’s applicable guideline range’ when the court substitutes

the amendment for the corresponding guideline provision that was applied when the defendant was

sentenced, leaving ‘all other guideline application decisions unaffected.’”        United States v.

Valentine, 694 F.3d 665, 670 (6th Cir. 2012) (quoting U.S.S.G. § 1B1.10(a)(2)(B)).               The

amendment must also be incorporated into the Guidelines policy statement at § 1B1.10 before a

district court can reduce a sentence. United States v. Hammond, 712 F.3d 333, 335 (6th Cir. 2013).

       The Sentencing Commission incorporated Amendment 821 to § 4A1.1, at issue here, into

its policy statement. U.S.S.G. § 1B1.10(d) (2023). This amendment took effect on February 1,

2024, and was specifically made retroactive. U.S.S.G. § 1B1.10(e)(2), cmt. n.7. Further, the pre-

amendment Guidelines which created “status points” were “clearly ‘a relevant part of the analytical

framework’ used by the district court to determine [Rice’s] sentence.” Jackson, 678 F.3d at 445

(citing Freeman v. United States, 564 U.S. 522, 530 (2011)). Rice received two additional points

for committing the instant offense while on parole, pursuant to then Guidelines § 4A1.1, resulting

in a criminal history score of five and placing him in criminal history category III. The district

court specifically addressed and rejected Rice’s objection to the calculation of his criminal history

category of III because the Guidelines amendment had not gone into effect at the time of

sentencing.



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No. 23-3771, United States v. Rice


         When an amendment to the Guidelines applies retroactively, the proper procedure is “for

this court to affirm the sentence but to remand for consideration of whether the prisoner is entitled

to a sentence reduction under § 3582(c)(2).” United States v. Poole, 538 F.3d 644, 646 (6th Cir.

2008); United States v. Ralston, ___ F.4th___, 2024 WL 3755662, at *11 (Aug. 12, 2024).

Therefore, we remand with instruction for the district court to address Rice’s outstanding 18 U.S.C.

§ 3582(c)(2) motion for sentence reduction. See Mot. for Sentence Reduction, R. 33.

                                                 III.

         Finally, Rice argues that his sentence is substantively unreasonable because the district

court failed to consider certain mitigating factors, such as his personal history and that he took

responsibility by pleading guilty. We review a challenge to the substantive reasonableness of a

sentence for abuse of discretion. United States v. Perez-Rodriguez, 960 F.3d 748, 753 (6th Cir.

2020).

         “We presume a within-Guidelines sentence is substantively reasonable. But a defendant

can rebut this presumption if a district court chose a sentence arbitrarily, ignored pertinent

§ 3[5]53(a) factors, or gave unreasonable weight to any single factor.” United States v. Gardner,

32 F.4th 504, 530 (6th Cir. 2022) (internal citation omitted). We assess “whether the length of the

sentence is ‘greater than necessary’ to achieve the sentencing goals set forth in [] § 3553(a).”

United States v. Tristan-Madrigal, 601 F.3d 629, 632–33 (6th Cir. 2010).              Our review is

deferential, but we consider the totality of the circumstances. United States v. Demma, 948 F.3d

722, 727 (6th Cir. 2020).

         When fashioning an appropriate sentence, the district court considers certain factors:

(1) the nature and circumstances of the offense; (2) the history and characteristics of the defendant;

(3) the seriousness of the offense; (4) the need for adequate deterrence; (5) the need to protect the


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No. 23-3771, United States v. Rice


public from further crimes by the defendant; (5) the need to provide the defendant with educational

or vocational training; and (6) the need to avoid unwarranted sentencing disparities. 18 U.S.C.

§ 3553(a).   Not every § 3553(a) factor is important in every sentencing.          United States v.

Bridgewater, 479 F.3d 439, 442 (6th Cir. 2007). “[O]ften one or two prevail.” Id.
       The district court provided ample explanation for its decision. Even though Rice was only

23 years old at sentencing, the district court stated that the nature, seriousness, and circumstances

of the offense were concerning because it occurred while Rice was on parole for a previous

criminal conviction and it involved not just the use, but the sale, of guns. While the district court

acknowledged that the average sentence for this offense was 35-months with a median of 37-

months, it explained that Rice’s Guidelines range was higher due to his prior conviction for

aggravated robbery. The court concluded that Rice posed a danger to the public because of the

gun sale and risked receiving a substantially longer sentence under the “armed career criminal”

provisions of the Guidelines if his conduct continued.

       It also detailed Rice’s history and characteristics including the many mitigating factors that

impacted Rice’s childhood such as his early exposure to guns, violence, loss of loved ones to gun

violence, and drugs. The district court explained that Rice’s mitigating factors were the basis for

which the district court chose not to enact a sentence above the calculated Guidelines range.

       We are not left with the definite and firm conviction that the district court committed a

clear error of judgment. Cole v. City of Memphis, 839 F.3d 530, 540 (6th Cir. 2016). Rather, the

district court analyzed each § 3553(a) factor when fashioning Rice’s sentence without giving

unreasonable weight to any one factor. Rice’s argument “boils down to an assertion that the district

court should have balanced the § 3553(a) factors differently, which is simply beyond the scope of




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No. 23-3771, United States v. Rice


this court’s appellate review.” United States v. Frei, 995 F.3d 561, 567–68 (6th Cir. 2021)

(citations and internal quotations omitted). Therefore, Rice’s sentence is substantively reasonable.

                                                IV.

       For the reasons set forth above, we AFFIRM the judgment of the district court, but we

REMAND the case to the district court to consider whether Rice is entitled to a sentence reduction

pursuant to 18 U.S.C. § 3582(c)(2).




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